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Place of Confinement .

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City, State, Zip Code

(Failure to notify the Court of your change of address may result in dismissal of this action.)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

{ “of “
‘Aw they ~ Exies Eva er-sord
(Full Name of Plaintiff)~ Plaintiff.

CASENO. CV 00229 - OCB - PSOT
(To be supplied by the Clerk)

VS.

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(1) Pr. Lucy GuRei AGA, CORI2Gn) IVC, , +)
(Full Name of Defendant) )
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(2) &. Rhaderson Plett

CIVIL RIGHTS COMPLAINT
(3) Treacy We fend BY A PRISONER
(4) Vouathan Welker C1 Original Complaint
Defendant(s). First Amended Complaint

[yy tec if there are additional Defendants and attach page 1-A listing them.

L] Second Amended Complaint

A. JURISDICTION

1, This Court has jurisdiction over this action pursuant to:
28 U.S.C. § 1343(a); 42 U.S.C. § 1983
CL] 28 U.S.C. § 1331; Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971).
C1 Other:

2. Institution/city where violation occurred: 7c Sc) - Co-yP/ox Joc. soy) Az-

Revised 5/1/2013 1 550/555

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Case 4:16-cv-00229-DCB | Document 22 Filed 06/20/16 Page 2of8
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G) Or. Hareld Ore . P.0. Loox 294900, Focso Az aseal
C8) Seoft Bowers P.O, Lox 2¥9700, Fac.sow 42 95737
@ Tamara Porter, Admin) P.O, Lox aro, Focscd fz S237
Co) Lisa Lyad, bd nved P.O, Bok 2H%0, Tecscd A2 B57
CH) Angela Mertiver, Norse P.O. Bor avyeo, Tocse) fz BS
(2) Worse Muga, Norse POBox 2v760, Tocsod fe. 85737
C3) De Caflvlas Tahagerd Pao. Bex 27700, Tocso,) Az. 8S 73%
G4) RW The ger, Worse 0.0, ox 27700, Tec) 42 8S7Fi/
G5) Glew Pacheca D.w. 7.0. Bex AvYeo  Tocsep fo, 85 73F
(le) Marlene Bedoya, Ad mrad, 2.0, Box atyeo, TocSsn)-2. BS737
C7) James Mex Kewo2le day P.O, Bex avo, Ticson - Ae. BS 737
We) K Vesgve2 P.0. bex 24%00, Tocsed~Az- PS73Y |
(4) Debra Hen cea P.O. Box 29700, Tocse- 42. 8S73¢/ |
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GD Alfred Reames warded! po. hex 2¥%oe, Tocsod - te. ES 73S |
G20 Cheryl Desse#f Adan's- 20, box 2000, 7ocsew- 2. BS73Y
Q3) Co IN2ed2q officer P06. ber 27700, 7eCsep) -F2, BS23Y |
GD Vawessa Headstregm hdmeay: 1660 W. Telhersop, Phx. 2 657 |
Qs) Toltet Respicio-[feriat léo/ w, Tetherson', Pox. fe, $500? ||
Qe) Charles Le Ruaw Director (Gos w. Jefferson, Phx. Az Bs007 |
(27) Does / 46 (00 Ageuks and Employees

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B. DEFENDANTS

1. Name of first Defendant: _~Se< CIA 2 . The first Defendant is employed as:
(Position and Title) “ (Institution) ,

2. Name of second Defendant: . The second Defendant is employed as:
(Position and Title) “ (Institution)

3. Name of third Defendant: . The third Defendant is employed as:
(Position and Title) . (Institution) ,

4. Name of fourth Defendant: . The fourth Defendant is employed as:
(Position and Title) " (Institution) ,

If you name more than four Defendants, answer the questions listed above for each additional Defendant on a separate page.
C. PREVIOUS LAWSUITS

1. Have you filed any other lawsuits while you were a prisoner? ay es LI No

2. If yes, how many lawsuits have you filed?_/ _. Describe the previous lawsuits:

a. First prior lawsuit: wo
1. Parties: _“AuMewy.. Secs Erecson vy. 37A7E OF Als2cd FG

2. Court and case number: C¢% (3-A¥GS DKK SAF mH

3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)___ o/sx>.‘sscd

b. Second prior lawsuit:
1. Parties: v.

2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

c. Third prior lawsuit:
1. Parties: v.

2. Court and case number:
3. Result: (Was the case dismissed? Was it appealed? Is it still pending?)

If you filed more than three lawsuits, answer the questions listed above for each additional lawsuit on a separate page.

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D. CAUSE OF ACTION
COUNTI Violated of Rr, ard (a) @: C7)

1. State the constitutional or other federal civil right that was violated: KHL, Xiv /6-45 Xcecvp
Pelherch Terfo  Lvhomain or De 96 20 og Treedureat

2. Count I. Identify the issue involved. Check only one. State additional issues in separate counts.
C] Basic necessities [] Mail L] Access to the court [Medical care
C1 Disciplinary proceedings L] Property . UO Exercise of religion CX) Retaliation
[1] Excessive force by an officer J Threat to safety 1 Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Count I. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.
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4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
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paid. Degene erative Dise Disease, Retrolis the ss , $i verve Ces preSS/ens

CSee ofA DA4
5. Administrative Remedies:

a. Arethere any administrative remedies (grievance procedures or administrative appeals) available at your

institution? Yes LINo
. Did you submit a request for administrative relief on Count I? ZrYes [LINo
c. Did you appeal your request for relief on Count I to the highest level? [Yes [LINo
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not.
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COUNT I
1. State the constitutional or other federal civil right that was violated:

2. Count II. Identify the issue involved. Check only one. State additional issues in separate counts.
L] Basic necessities LI Mail C1 Access to the court L] Medical care
C] Disciplinary proceedings L] Property CZ Exercise of religion etaliation
CJ Excessive force by an officer 1 Threat to safety C1 Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Count II. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments,
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4. Injury. State how you were injured by the actions or inactions ‘of the Defendant(s). ET hage beew vasustly
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5. Administrative Remedies.
a. Arethere any administrative remedies (grievance procedures or administrative appeals) available at your

institution? Yes LINo
. Did you submit a request for administrative relief on Count II? [Yes [CINo
c. Did you appeal your request for relief on Count II to the highest level? Yes LI No

d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not. Ae 414eS did aot complete adnini stro: ve rehf Je e fe pac Gz etd
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Case: 4:16-6veG0229-DOB2PSEDCBocuMment#e 222 Dete Pié20/05/10/2006 7 dPage 18 of 19

COUNT I
1. State the constitutional or other federal civil right that was violated: __ Dw e Preces-£

2. Count Hl. Identify the issue involved. Check only one. State additional issues in separate counts.
L] Basic necessities LC] Mail CL Access to the court CL) Medical care
C1 Disciplinary proceedings [Property CL) Exercise of religion C) Retaliation
C] Excessive force by an officer 1 Threat to safety LJ Other:

3. Supporting Facts. State as briefly as possible the FACTS supporting Count III. Describe exactly what each
Defendant did or did not do that violated your rights. State the facts clearly in your own words without citing legal
authority or arguments.

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4. Injury. State how you were injured by the actions or inactions of the Defendant(s).
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5. Administrative Remedies.
a. Arethere any administrative remedies (grievance procedures or administrative appeals) avajlable at your

institution? Yes LINo
b. Did you submit a request for administrative relief on Count II? [Yes [CINo
c. Did you appeal your request for relief on Count II to the highest level? Yes LINo
d. If you did not submit or appeal a request for administrative relief at any level, briefly explain why you
did not.

If you assert more than three Counts, answer the questions listed above for each additional Count on a separate page.

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E. REQUEST FOR RELIEF

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vs

I declare under penalty of perjury that the foregoing is true and correct.

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Executed on O8 [ 10 /1 é idatheoy ~ Ces birt Son)
DATE SIGNATURE OF PLAINTIFF

(Name and title of paralegal, legal assistant, or
other person who helped prepare this complaint)

(Signature of attorney, if any)

(Attorney’s address & telephone number)

ADDITIONAL PAGES

All questions must be answered concisely in the proper space on the form. If you need more space, you may attach
no more than fifteen additional pages. But the form must be completely filled in to the extent applicable. If you
attach additional pages, be sure to identify which section of the complaint is being continued and number all pages.

